                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION


    CHINYERE OGBONNA-                               )
    MCGRUDER,                                       )
                                                    )
            Plaintiff,                              )            NO. 3:21-cv-00506
                                                    )            JUDGE RICHARDSON
    v.                                              )
                                                    )
    AUSTIN PEAY STATE UNIVERSITY                    )
    et al.,                                         )
                                                    )
            Defendants.

                                               ORDER

           Pending before the Court is “The Individual Defendants’ Motion to Dismiss” (Doc. No.

57, “Motion”), filed by Defendants Tucker Brown and Marsha Lyle-Gonga (“Individual

Defendants”), wherein they seek the dismissal of all claims asserted against them in Plaintiff’s

First Amended Complaint (Doc. No. 53).1 The Individual Defendants filed a brief in support of

the Motion (Doc. No. 57-1, “Brief in Support”), and Plaintiff filed a brief in opposition to the

motion (Doc. No. 60, “Opposition”), whereafter the Individual Defendants filed a reply in support

of the Motion (Doc. No. 62, “Reply”).

           For the reasons set forth in the accompanying memorandum opinion, the Motion is granted,

and all claims against the Individual Defendants are dismissed, with prejudice.

           IT IS SO ORDERED.

                                                ____________________________________
                                                ELI RICHARDSON
                                                UNITED STATES DISTRICT JUDGE

1
  Secondarily, the Individual Defendants request “an award against Plaintiff for attorney’s fees and costs
related to these individual capacity claims under Tenn. Code Ann. § 29- 20-113.” (Doc. No. 57-1 at 1). The
Individual Defendants at their option may seek such fees under the procedure, and in the timeframe,
specified by Federal Rule of Civil Procedure 54(d)(2).



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